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BERNARD CURRAN

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION
UNITED STATES OF AMERICA, Case No.: 3:21-cr-00453-SI
Plaintiff, DECLARATION OF BAY AREA
BUILDERS OWNER JAMES SHANNON
Vv. IN SUPPORT OF DEFENSE
SENTENCING MEMORANDUM
BERNARD CURRAN,
Defendants.

 

 

I, James Shannon, declare:

i. I am a general contractor and owner of Bay Area Builders, a construction company
headquartered in Mendocino, California, that does business in the San Francisco Bay Area. I have been
employed in the building trades in the United States since my emigration to this country in the 1980s. I
began my career as a union carpenter in the State of New York before coming to California in 1993.
Upon arrival in California, I continued to work as a carpenter until attaining my General Contractor’s
license in 1994. My license number is 685911.

2. Since Mr. Bernard ‘Bernie’ Curran’s resignation from the San Francisco Department of
Building Inspections in 2020, he has been continuously employed full time by Bay Area Builders as a

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project manager for our projects located in the Bay Area. During a project, Mr. Curran is on-site daily
supervising construction, managing subcontractors, consulting with property owners, and meeting,
when necessary, with local officials and authorities. He is an integral part of my Team in the Bay Area
and without him I could no longer take projects in this area.

2. Bay Area Builders is currently completing a project in Mendocino County and has

paused operations in the Bay Area as Mr. Curran awaits sentencing. If Mr. Curran is allowed to

| continue to work for my Company, I have two prospective construction projects in the Bay Area with

start dates in the Fall of 2023. One of these projects is a commercial project located in Alameda,
California, with a contract value of approximately $850,000. The second is a residential project located
in Redwood City, California, with a contract value of approximately $300,000. These two projects
would provide employment for five full-time employees for a period of six to eight months. In
addition, they would provide income and employment opportunities for a minimum of five
subcontractors.

3. Beyond these two projects, I believe that with Mr. Curran in my employ, I could bid for
new work that would keep him and his current crew employed in the foreseeable future. Mr. Curran is
a trustworthy and extremely knowledgeable employee with exceptional interpersonal skills; a rare
blend based on my experience. He works without complaint and keeps his team enthused and engaged.
There is no one else that can manage the demands of complex job sites with me living and working in

Mendocino.

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| 4. Even more important than the critical role Mr. Curran assumes with Bay Area Builders

| is the one he plays in the community. His income continues to provide for his children, and his service

to young student athletes and those fighting alcoholism and addiction is both important and well-

| chronicled.

 

 

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De Please contact me if I can provide more information to the Court. I have seen first-hand
the shame, pain, and anguish this criminal case has already caused Mr. Curran. I believe a sentence
that would allow him to continue to work and perform his other responsibilities would be just.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct,
yee Lh a
Executed this day of July 2023 at F/(“Wio © ._, California.

Aint Landon

James Shannon

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OF DEFENSE SENTENCING MEMORANDUM 3:21-CR-00453-SI-1

 

 
